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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

RENEE GALLOWAY,
et al.,

Plaintiffs,
Vv. Civil Action No. 3:19cv314

JUSTIN MARTORELLO,
et al.,

Defendants.
MEMORANDUM OPINION

This matter is before the Court on the MOTION TO DISMISS (“the
MOTION”) (ECF No. 543) filed by Breakwater Holdings, LLC
(“Breakwater”). Breakwater requests the Court to “dismiss all
claims against Defendant pursuant to Rule 12(b) (6) of the Federal
Rules of Civil Procedure.” Id. For the reasons set forth below,
Breakwater’s MOTION will be granted in part and denied in part.
The MOTION will be granted as to COUNT TWO, denied as to COUNTS
ONE, FIVE, TWENTY-EIGHT, and TWENTY-NINE, and denied as moot as to
COUNT THIRTY.

BACKGROUND

(A) Factual Background?!

This case comes out of a long series of litigation concerning

Matt Martorello (“Martorello”) and his short-term lending

1 These allegations are as set forth in the Complaint and, for the
purpose of deciding the MOTION, must be taken as true.
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operations. CLASS ACTION COMPLAINT (“Compl.”) § 1, 11 (ECF No.
1). Martorello allegedly engaged in a so-called “rent-a-tribe”
online lending operation to make usurious short-term loans with
interest rates in the triple digits. Id. at 4Q 1, 6-11.

Breakwater is a limited liability company established under
the laws of the Cook Islands, id. at q@ 61, and, according to the
Complaint, is one of several entities allegedly entangled within
an elaborate corporate racketeering enterprise established by
Martorello. Compl. at 4§ 17; 238-246. Plaintiffs allege that
Martorello created Breakwater as a vehicle to help distribute the
illegal income of the enterprise to Martorello and his family and
to “conceal his ownership interest in the companies involved in
the [allegedly illegal lending] scheme and create an additional
layer of protection for the illegal money received from consumers.”
Id. Breakwater is alleged to be a key component of the alleged
racketeering enterprise. So, it is necessary to explain the
structure of that alleged racketeering enterprise and to
understand Breakwater’s role in it.

The Lac Vieux Desert Band of Lake Superior Chippewa Indians
(“the Tribe”), at Martorello’s urging, created Red Rock Tribal
Lending (“Red Rock”), later rebranded as Big Picture Loans, LLC
(“Big Picture”), to issue high-interest short-term loans by way of

the internet. Williams v. Big Picture Loans, LLC, 929 F.3d 170,

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174 (4th Cir. 2019).2 By linking with the Tribe, Martorello hoped
to secure for himself, his entities, and the entire alleged RICO
enterprise the protection of the Tribe’s sovereign immunity.

On October 25, 2011, Red Rock retained Martorello’s company,
Bellicose VI (“Bellicose”), as its servicer to “completely”
operate the online lending business while using some tribal members

as employees. Williams v. Big Picture, No. 3:17cv461, 2020 WL

6784352, at *5 (E.D. Va. Nov. 18, 2020) (“Misrepresentation
Opinion”). Under the Servicing Agreement, Bellicose received 98%
of all gross proceeds from the online lending operation.? On July
31, 2012, with retroactive effect to the start of the Bellicose
service agreement, Bellicose assigned the service agreement to
SourcePoint VI (“SourcePoint”), its wholly owned subsidiary.‘ As
was the case with Bellicose, SourcePoint also received 98% of all
net profits from the loan operation. Id. Between June 1, 2013 and

December 31, 2013, Breakwater was the parent company of SourcePoint

2 Big Picture was originally a defendant in a related suit but, as
it is an arm of the tribe, Big Picture was dismissed. Williams v.
Big Picture Loans, LLC, 929 F.3d 170 (4th Cir. 2019).

3 SERVICING AGREEMENT BETWEEN RED ROCK TRIBAL LENDING, LLC AND
BELLICOSE VI, INC at 2.25; 3.5.1 (ECF No. 494-1).

4 Misrepresentation Opinion at *7; AMENDED & RESTATED SERVICING
AGREEMENT BETWEEN RED ROCK TRIBAL LENDING, LLC AND SOURCEPOINT VI,
LLC at 2.25; 3.5.1 (ECF No. 494-2).

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and Bellicose. Compl. § 242 (ECF No. 1). On December 31, 2013,
Breakwater transferred, for no value, its interest in SourcePoint
and Bellicose to Alpha Tax Capital, another Martorello owned
company. Id. Then, in January 2016, Martorello amended Evertide’s
Operating Agreement to transfer to Breakwater all of Eventide’s
voting interest in Eventide and 59.5% of Eventide’s economic shares
so that Breakwater received substantial funds from the alleged
RICO enterprise. Id.

From 2011 to 2016, the money received from the alleged illegal
loan payments allegedly was run through a complex series of
entities from SourcePoint to Bluetech, and then from Bluetech to
Martorello and others, including his family members. Martorello
allegedly uses Breakwater to divert 70% of his income from illegal
loan repayments to Bluetech which then distributes funds to
Martorello’s wife and children. Id. at QQ 242-245.

From October 25, 2011 to December 31, 2013, Breakwater
received substantial revenue from the enterprise's lending

operation. See also Bellicose Capital Corporate Structure at 3

5 The record shows that Bellicose owned 100% of SourcePoint and
“all of [SourcePoint’s] net profits, net losses, expenses and items
of income, gain, loss, and credit” were “allocated” to Bellicose.
OPERATING AGREEMENT OF SOURCEPOINT VI, LLC at 1, § IV(A); Amend.
A (ECF No. 494-3). Bellicose then distributed 30% of the funds to
MBM Services (owned 95% by Martorello and 5% by his brother, Justin
Martorello) and 70% to 7X Services. MBM SERVICES, LLC OPERATING
AGREEMENT at Article 3.1; 14 (ECF No. 494-7). Breakwater also held
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(ECF No. 494-8). On January 1, 2014, Martorello made several
alterations to the corporate structure of the alleged racketeering
enterprise.®

In January 2016, the alleged RICO enterprise went through a
general re-structuring. On January 26, 2016, SourcePoint and
Bellicose Capital merged into Ascension Technologies, a tribal
entity. Before the sale, Martorello had created a new company
called Eventide Credit Acquisitions (“Eventide”) to facilitate the

Sale of Bellicose Capital to the Tribe.’ However, Martorello

100% voting interest in Bellicose. OPERATING AGREEMENT OF
BELLICOSE VI, LLC at § II(E)-(F), Exhibit A (ECF No. 494-4). 7X
Services then distributed 100% of that money to Breakwater which,
in turn, then distributed 100% of the money to M. Martorello
Irrevocable Trust, later re-named Bluetech. 7X SERVICES OPERATING
AGREEMENT at Exhibit A (ECF No. 494-6); OPERATING AGREEMENT OF
BREAKWATER HOLDING LLC at Exhibit “A” (ECF No. 494-5); CERTIFICATE
OF REGISTRATION UPON CHANGE OF NAME (ECF No. 494-22).

6 At that point, Bellicose Capital’s members were as follows:
Kairos Holdings, LLC (“Kairos”) (59.5%); Liont, LLC (‘“Liont”)
(25.5%); Justin Martorello (10%); Brian McFadden (2%); James Dowd
(1.5%); and Simon Liang (1.5%). SCHEDULE A OF THE AMENDED AND
RESTATED OPERATING AGREEMENT OF BELLICOSE CAPITAL, LLC (ECF No.
494-11). Bluetech owned 100% of Kairos throughout its existence.
Bellicose Capital Corporate Structure at 7-13. Martorello is the
sole owner and president of Liont. June 4, 2018 Email from
Martorello to Huffstutter RE: Additional Information (ECF No. 494-
30); OPERATING AGREEMENT OF LIONT, LLC at 18 (ECF No. 513-9). It
appears that, from January 1, 2014 to January 1, 2016, Breakwater
had no role in the enterprise.

7 OPERATING AGREEMENT OF EVENTIDE CREDIT ACQUISITIONS, LLC (ECF
No. 494-12).
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structured that sale so that he would continue to profit from the
online lending enterprise. In particular, so that the Tribe could
pay for Bellicose, the Tribe signed a Secured Promissory Note in
which it was obliged to pay Eventide between 94-96% of the
enterprise’s gross revenue up to $300,000,000.00 for seven years.?®
The money then flowed from Eventide through a series of entities
and persons. After the sale, Eventide’s members were as follows:
Breakwater (59.5%); Gallant Capital (25.5%); Justin Martorello
(10%); Brian McFadden (2%); James Dowd (1.5%); and Simon Liang
(1.5%). Id. at Schedule A.% Thus, even after the transfer, it is
alleged, with plausible support, that Breakwater continued to
derive a significant percentage of income from the alleged
racketeering enterprise and then helped to distribute it to
Martorello’s family, various investors, and others and to conceal

Martorello’s role in the enterprise and the conspiracy.?°

8 AGREEMENT AND PLAN OF MERGER BETWEEN LVD TRIBAL ACQUISITIONS
COMPANY, LLC AND BELLICOSE CAPITAL, LLC AND EVENTIDE CREDIT
ACQUISITIONS, LLC at § 2.7(ECF No. 494-14); SECURED PROMISSORY
NOTE at §§ 1.2, 1.3(ECF No. 494-15).

§ As of July 15, 2015, Eventide’s members were as follows: Kairos
Holdings, LLC (59.5%); Gallant Capital (25.5%); Justin Martorello
(10%); Brian McFadden (2%); James Dowd (1.5%); and Simon Liang
(1.5%). Id. at Schedule A. On January 1, 2016, Kairos transferred
its 59.6% interest in Eventide to Breakwater. INTEREST TRANSFER
AGREEMENT (ECF No. 321-4).

10 Breakwater FINANCIAL INTEREST DISCLOSURE STATEMENT (ECF No. 63)
(“The sole member of Breakwater is Guardian Trust Corporation as
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(B) Procedural Background

This case has and long and convoluted procedural history.
Plaintiffs originally brought twenty-eight counts?! against
Breakwater under state and federal laws. Compl. at 55-82. The Court
dismissed, without prejudice, COUNTS SIX through TWENTY-SEVEN in
their entirety and COUNTS TWENTY-EIGHT through THIRTY, except as
they asserted claims under Virginia law. September 23, 2021
MEMORANDUM ORDER (ECF No. 371).

On October 15, 2021 Breakwater filed a MOTION TO DISMISS THE
COMPLAINT PURSUANT TO RULE 12(B) (2) AS TO DEFENDANT BREAKWATER
HOLDINGS, LLC (ECF No. 390) (the “Rule 12(b) (2) Motion”) and, on
October 22, 2021, it filed a MOTION TO DISMISS THE COMPLAINT
PURSUANT TO RULE 12(b) (5) AS TO DEFENDANT BREAKWATER HOLDINGS, LLC
(ECF No. 403) (the “Rule 12(b) (5) Motion”). On October 22, 2021,
Breakwater filed a MOTION TO DISMISS THE COMPLAINT PURSUANT TO
RULE 12(b) (6) BY DEFENDANT BREAKWATER HOLDINGS, LLC (ECF No. 409).

On November 3, 2022, the Court ordered the parties to provide
supplemental briefing on Breakwater’s Rule 12(b) (2) Motion. Nov.

3, 2022 MEMORANDUM ORDER (ECF No. 468). After that briefing was

trustee of the Bluetech Irrevocable Trust”).

11 The Complaint denotes the claims as Causes of Action (such as
“FIRST CAUSE OF ACTION”). This Memorandum Opinion refers to the
claims as Counts (such as “COUNT ONE.”)

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filed, the Court held an evidentiary hearing on the Rule 12(b) (2)
and the Rule 12(b) (5) Motions. Feb. 23, 2023 ORDER (ECF No. 489).
On April 6, 2023, “[i]n light of the supplemental briefing and
oral argument presented in this case during the hearings on April
4 and 5, 2023,” the Court denied Breakwater’s 12(b) (6) motion
without prejudice as moot. April 6, 2023 ORDER (ECF No. 521).22 On
August 11, 2023, the Court denied Breakwater’s Rule 12(b) (2) Motion
and its Rule 12(b) (5) Motion. See ECF Nos. 604, 605, 607, 608. On
August 14, 2023, the Court also resolved three related discovery
disputes—PLAINTIFFS’ OBJECTION TO BLUETECH AND BREAKWATER’S
STATEMENT OF POSITIONS AND EVIDENTURY [sic] HEARING EXHIBIT LIST
(ECF No. 507); MOTION FOR PROTECTIVE ORDER AS TO DEFENDANTS
BLUETECH IRREVOCABLE TRUST AND BREAKWATER HOLDINGS, LLC (ECF No.
533); and PLAINTIFFS’ MOTION TO COMPEL AND FOR SANCTIONS (ECF No.
545)—and ordered Breakwater to fully participate in discovery. ECF
Nos. 609, 610.

Against the foregoing background, the MOTION will he

assessed.

12 In that ORDER, the Court ordered that, if Breakwater filed a
second motion to dismiss, it “shall explain fits] decision to
proceed under Fed. R. of Civ. P. Rule 12(b)(6).” April 6, 2023
ORDER (ECF No. 521). Breakwater has failed to do so. This failure
is part of a disturbing pattern of failing to abide by Court
ORDERS.

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DISCUSSION
(A) Legal Framework
Fed. R. Civ. P. 12(b) (6) allows for dismissal for “failure to
state a claim upon which relief can be granted.” The Supreme Court
of the United States has said:

To survive a motion to dismiss, a complaint must contain
sufficient factual matter, accepted as true, to “state a claim
to relief that is plausible on its face.” A claim has facial
plausibility when the plaintiff pleads factual content that
allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged. The
plausibility standard is not akin to a “probability
requirement,” but it asks for more than a sheer possibility
that a defendant has acted unlawfully. Where a complaint
pleads facts that are “merely consistent with” a defendant's
liability, it “stops short of the line between possibility
and plausibility of ‘entitlement to relief.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citations omitted).

The Court “must accept as true all of the allegations
contained in the complaint.” Ashcroft, 556 U.S. at 678. However,
the Court does not need to accept legal conclusions as true. Id.

A plaintiff’s “complaint will not be dismissed as long as he
provides sufficient detail about his claim to show that he has a
more-than-conceivable chance of success on the merits.” Owens v.

Baltimore City State’s Att’y Office, 767 F.3d 379, 396 (4th Cir.

2014).
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(B) COUNT ONE: Violation of RICO, 18 U.S.C. § 1962 (c)

Plaintiffs allege that Breakwater violated the Racketeer
Influence and Corrupt Organizations (“RICO”) Act through the
“collection of unlawful debt.” See 18 U.S.C. § 1962(c). Section
1962(c} reads, in full:

It shall be unlawful for any person employed by or
associated with any enterprise engaged in, or the
activities of which affect, interstate or foreign
commerce, to conduct or participate, directly or
indirectly, in the conduct of such enterprise’s affairs
through a pattern of racketeering activity or collection
of unlawful debt.

18 U.S.C. § 1962(c) (emphasis added). “(U]nlawful debt” is defined
as “the business of lending money or a thing of value at a rate
usurious under State or Federal law, where the usurious rate is at
least twice the enforceable rate.” 18 U.S.C. § 1961(6).

To establish a claim under § 1962(c), Plaintiffs must show:
“Defendants (1) conducted the affairs of an enterprise (2) through
the collection of unlawful debt (3) while employed by or associated
with (4) the enterprise engaged in, or the activities of which

affect, interstate or foreign commerce.” Gibbs v. Stinson, 421

F.Supp.3d 267, 312 (E.D. Va. 2019), aff'd on different grounds sub

nom. Gibbs v. Sequoia Cap. Operations, LLC, 966 F.3d 286 (4th Cir.

2020) (quotation marks and citation omitted); see also Salinas v.

United States, 552 U.S. 52, 62 (1997) (“The elements predominant

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in a subsection (c) violation are: (1) the conduct (2) of an
enterprise (3) through [the collection of unlawful debt]”).
Plaintiffs allege that Breakwater, along with numerous other
defendants including (but not limited to) Justin Martorello,
Bluetech, Eventide, Big Picture, Ascension and their employees,
“associated for the common purpose of profiting off of the
collection on unlawful debt by offering and collecting on loans to
consumers throughout the United States.” Compl. § 353. Plaintiffs
allege that the loans made to the Class Members and collected by
the enterprise “included interest rates far in excess of twice the
enforceable rate in their states.” Compl. § 357. Plaintiffs further
allege that they were injured by paying the “unlawful and usurious
rates of interest on loans made by the Enterprise.” Compl. § 358.
Breakwater offers the following arguments in support of the
MOTION. First, it argues that Fed. R. Civ. P. 9(b), rather than
Fed. R. Civ. P. 8(a), governs the pleading standard for RICO
claims;?3 and, under this heightened standard, Breakwater argues
that Plaintiffs have not plead the RICO claims with enough
specificity. Second, even if the Fed. R. Civ. P. 8(a) standard

applies, Breakwater argues that “Plaintiffs have failed to

13 MEMORANDUM IN SUPPORT OF MOTION TO DISMISS THE COMPLAINT PURSUANT
TO RULE 12(b) (6) BY DEFENDANT BREAKWATER HOLDINGS, LLC ("“Memo. in
Supp.”) at 4-5 (ECF No. 544).

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plausibly allege that their purported injuries were proximately
caused by any conduct by Breakwater.” Id. at 6 (emphasis removed).
Third, Breakwater contends that it did not “conduct or participate”
in the affairs of the enterprise. Id. at 8-12 (emphasis removed).
Fourth, it argues that RICO cannot be applied to conduct on which
Bluetech engaged “abroad” (outside of the United States) because
of “the presumption against extraterritoriality.” Id. at 12.
Fifth, Breakwater argues that “Plaintiffs have failed plausibly to
allege that Breakwater joined any conspiracy to violate RICO.”
Id. at 13-15. Finally, Breakwater argues that the “State-Law
Claims Fail to Plausibly Allege that Plaintiffs are Entitled to
Relief from Breakwater.” Id. at 15-17. Each of these offered
arguments will be evaluated in turn.

(i) Pleading Standard

It is Breakwater’s view that the Complaint “alleges claims
sounding in fraud” and therefore must satisfy Fed. R. Civ. P.
9(b)'s heightened pleading requirements. Memo. in Supp. at 4.
Plaintiffs argue that, because “unlawful debt” is defined in terms
of usury and gambling, “Rule 9's pleading requirements are

inapplicable.”}4

14 PLAINTIFFS’ OPPOSITION TO DEFENDANT BREAKWATER HOLDINGS, LLC’S
RULE 12(b) (6) MOTION TO DISMISS (“Response”) at 6 (ECF No. 572).

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Fed. R. Civ. P. 9(b) requires parties, when “alleging fraud
or mistake,” to “state with particularity the circumstances
constituting fraud or mistake.” This is a higher standard than the
Fed. R. Civ. BP. 8(a) (2) general requirement for “a short and plain
statement of the claim showing that the pleader is entitled to
relief.”

When determining which pleading standard to apply to claims
under RICO, courts look to the underlying predicate act(s),5
because Rule 9(b)‘s standard applies only to RICO claims sounding

in fraud. WW, LLC v. Coffee Beanery, Ltd., No. WMN-05-3360, 2012

WL 3728184, at *13 (D. Md. Aug. 27, 2012) (“if the predicate act
for a RICO claim is an act of fraud, then the allegation regarding
that fraud must be pled pursuant to Rule 9(b)”). “The non-fraud
elements of a RICO claim are assessed using Rule 8, not Rule 9(b).”

Mao v. Global Trust Management, LLC, No. 4:21CV65, 2022 WL 989012,

at *11 (E.D. Va. March 31, 2022) (gathering cases).

Here, RICO defines “unlawful debt” in terms of “gambling
activity” or “lending money. . . at a rate usurious under State or
Federal law,” 18 U.S.C. § 1961(6), not in terms of fraud.
Therefore, the Rule 9(b) standard does not apply. Mao, 2022 WL

989012, at *11. Plaintiffs here are only required to have made “a

18 Proctor v. Metropolitan Money Store Corp., 645 F.Supp.2d 464,
477 (D. Md. 2009).

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short and plain statement of the claim showing that the pleader is
entitled to relief.” Fed. R. Civ. P. 8(a) (2).

(ii) Injury Cause

Breakwater next argues that “Plaintiffs have failed to
plausibly allege that their purported injuries were proximately
caused by any conduct of Bluetech.” Memo. in Supp. at 5 (emphasis
removed). Breakwater claims that the Plaintiffs have “failed to
identify any ‘conduct’ by Breakwater relevant to the RICO claims.”
Id. at 7. Plaintiffs, in turn, argue that “Plaintiffs and RICO
Class members were injured as a direct result of Defendants’
violations of 18 U.S.C. § 1962(c) by, among other things, the
payment of unlawful and usurious rates of interest on loans made
by the Enterprise.” Compl. {| 358. Therefore, so they say, “the
direct connection between Bluetech’s misconduct and Plaintiffs’
injuries is straightforward: Bluetech financed, oversaw, and had
formal control over the scheme and worked together with the other
members of the enterprise to facilitate it.” Response at 7.

RICO provides a private cause of action for “[a]Jny person

injured in his business or property by reason of a violation of

{18 U.S.C. § 1962].” 18 U.S.C. § 1964(c) (emphasis added). To
prove an injury “by reason of a violation,” Plaintiffs are
“required to show that a RICO predicate offense not only was a

‘but for’ cause of [their] injury, but was the proximate cause as

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well.” Hemi Group, LLC v. City of New York, 130 S.Ct. 983, 989

(2010) (quotation marks and citation omitted) (emphasis added). In
the RICO context, “proximate cause” requires “some direct relation
between the injury asserted and the injurious conduct alleged.”
Id. (quotation marks and citation omitted) .1© When evaluating RICO
proximate causation, “the central question. . . is whether the
alleged violation led directly to the plaintiff’‘s injuries.”

Slay’s Restoration, LLC v. Wright Nat’l Flood Ins. Co., 884 F.3d

489, 493 (4th Cir. 2018) (quoting Anza v. Ideal Steel Supply Corp.,

547 U.S. 451, 461 (2006)). In assessing the “direct relationship
requirement,” the Supreme Court of the United States has directed
courts to consider “whether better situated plaintiffs would have

an incentive to sue.” Hemi Group, LLC, 130 S.Ct. at 990. While

keeping in mind that proximate cause “is a flexible concept that
does not lend itself to a black-letter rule that will dictate the
result in every case,"17 the Fourth Circuit recently articulated
two key guiding principles:
RICO proximate causation is lacking when (1) there is a
“more direct victim” from whom (or intervening factor

from which) the plaintiff's injuries derive, or (2) the
alleged RICO predicate violation is “too distinct” or

16 Unlike common law proximate cause, RICO proximate cause does not
evaluate the foreseeability of the harm. Slay’s Restoration, LLC
v. Wright Nat'l Flood Ins. Co., 884 F.3d 489, 493 (4th Cir. 2018).

17 Bridge v. Phoenix Bond & Indemnity Co., 553 U.S. 639, 654 (2008)
(citation and quotation marks omitted).
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logically unrelated from the cause of the plaintiff’s
injury.

Albert v. Global Tel*Link, 68 F.4th 906, 911 (4th Cir. 2023).

Here, Plaintiffs are the “direct victims” of the RICO
enterprise. By making “payment[s] of unlawful and usurious rates
of interest on loans made by the Enterprise,” Plaintiffs suffered
a direct, material economic injury. Compl. § 358. Breakwater has
identified no individuals more directly affected, or more directly
harmed, by the alleged RICO enterprise than the Plaintiffs and the
proposed class members.

To determine if the Plaintiffs’ alleged injuries (the payment
of usurious interest rates) are logically related to Breakwater’s
alleged actions in the course of the alleged RICO conspiracy, it
is first necessary to define what those actions are said to be.
Breakwater argues that "“(t])here is no allegation that Breakwater
actually did anything.” Memo. in Supp. at 11 (emphasis in
original). Breakwater seeks to portray its role as a solely passive
one. Breakwater, so it says, merely existed to own interests in
other defendants in the enterprise and received money (payments
from the alleged unlawful debt). Memo. in Supp. at 1-2 (stating
Breakwater is “alleged. . . to have indirectly received monies
from [the enterprise]”). It is true, as Breakwater admits, that it

received money generated from the alleged illegal loans. But,

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receiving the money is not all that Breakwater is alleged to have
done.

For example, the Complaint alleges that Breakwater actively
engaged in the conspiracy’s goal of issuing high-interest loans by
concealing Martorello’s ownership interest in the companies
involved in the scheme [Enterprise] and by owning and controlling
SourcePoint VI and Bellicose VI and their loan-making activities.
Breakwater also allegedly held and exercised Martorello’s
ownership interest and received almost 60% of Eventide’s profits
(which came from payments on the unlawful loans). Also, it is
alleged that Breakwater served as a conduit of funds to Bluetech
so that those funds could be distributed to Martorello’s family.
Compl. Qf 242 and 244. In sum, the Complaint alleges that
Breakwater plays much more than a passive role in the scheme; it
is alleged to play a critical role in shielding the allegedly
illegal funds and in disbursing them from the alleged RICO
enterprise entities to Martorello and his family.

That conduct (if proved) enabled the concealment and
distribution of the profits from the scheme and is logically
related to Plaintiffs’ injuries. When making out a RICO claim for
the collection of unlawful debts, “Plaintiffs ‘need not argue that
each defendant individually collected the debt’ to adequately

allege proximate cause.” Blackburn v. A.C. Israel Enterprises, No.

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3:22cv146, 2023 WL 4710884, at *18 (E.D. Va. July 24, 2023)

(quoting Duggan v. Martorello, 596 F.Supp.3d 158, 191 n.12 (D.

Mass. 2022)). Instead, the Court asks if the defendant “directly

facilitated” the lending scheme. Gibbs v. Elevate Credit, No.

3:20cv632, 2021 WL 4851066, at *17 (E.D. Va. Oct. 17, 2021).

“Facilitate” is defined by Merriam-Webster as “to make easier:

help bring about.” Here, by allegedly serving as, what Martorello
intended to be, a safe repository for, and then a disburser of,
the alleged RICO enterprise’s allegedly ill-gotten gains,
Breakwater was essential to the ability of the enterprise to
continue and to achieve its ultimate objective: to get the usurious
(and thus illegal) loan payments to Martorello and his family in
a manner that assured both deliver and concealment of that money.

So, when examined carefully, the Complaint has properly and
plausibly alleged that Breakwater’s actions proximately caused the

injuries that Plaintiffs claim to have sustained.

(iii) Presumption Against Extraterritoriality and Conduct
or Participate

It is necessary to combine the discussion of two arguments
raised by Breakwater, namely (1) that Breakwater, so it claims,
did not conduct or participate in the affairs of the alleged RICO
enterprise and (2) that, when evaluating that question, the Court
may not consider any actions taken by Breakwater outside of the

United States. Memo. in Supp. at 8, 12.
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First, the presumption against extraterritoriality does not
prohibit the Court from considering Breakwater’s overseas conduct.
To pursue a private cause of action under RICO, private plaintiffs

“must allege and prove a domestic injury.” RJR Nabisco, Inc v.

European Community, 136 S.Ct. 2090, 2106 (2016). To determine if

an injury is domestic, courts conduct a “context-specific inquiry
that turns largely on the particular facts alleged in the

complaint.” Yegiazaryan v. Smagin, 143 S.Ct. 1900, 1909 (2023). In

that inquiry, courts “should look to the circumstances surrounding
the alleged injury,” including “looking to the nature of the
alleged injury, the racketeering activity that directly caused it,
and the injurious aims and effects of that activity.” Id.

The circumstances surrounding Plaintiffs’ alleged injuries
support a finding that they were domestic in nature. The Court has
already found that the alleged RICO lending enterprise “was
anchored in the United States” and that it “targeted its loans to
individual located within the United States and not to other
jurisdictions.” August 11, 2023 MEMORANDUM OPINION (“Breakwater
Personal Jurisdiction Opinion”) at 16 (ECF No. 607). Americans
took out, and made the payments on, the assertedly unlawful loans
from the United States and those payments were directed, through
a convoluted path, to Breakwater. Thus, because Plaintiffs’

suffered a domestic injury, the presumption against

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extraterritoriality does not prohibit the Court from considering
conduct that occurred outside the United States or from holding
Breakwater accountable if it is found that Breakwater participated
in the affairs of the alleged RICO enterprise.

Having determined that it is proper to consider all of
Breakwater’s actions, it is time to turn to the core question:
have Plaintiffs properly plead that Breakwater violated 18 U.S.C.
§ 1962(c)? For the reasons that follow, they have not.

Section 1962(c) requires that a defendant “conduct[ed] or
participate[d], directly or indirectly, in the conduct of [the]
enterprise’s affairs.” 18 U.S.C. § 1962(c). To satisfy this
element, Plaintiffs must allege that Breakwater “participated in
the operation or management of the enterprise itself.” Reves v.

Ernst & Young, 507 U.S. 170, 183 (1993). Breakwater need not have

a formal position in the enterprise but it must have “some part in
directing the enterprise’s affairs is required.” Id. at 179.
According to the Complaint, Breakwater’s role in the alleged
unlawful lending scheme conducted by the alleged RICO enterprise
including owning SourcePoint VI and Bellicose VI which made and
serviced the unlawful loans. Breakwater also is alleged to have
functioned so as to conceal Martorello’s interest in the unlawful
lending scheme. Breakwater also held and exercised Martorello’s

interest in Eventide, and Breakwater thereby received 59.5% of the

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profits of Eventide (the illegal loan proceeds) and then helped
get the funds to Martorello through Bluetech. Compl. (§ 17, 61,
247. In doing so, Breakwater was “participating” in the enterprise.
Compl. § 355. But, the Complaint does not allege that Breakwater
directed, directly or indirectly, the RICO enterprise's affairs as
is required for liability under § 1962(c). While there is no doubt
that, if proved, Breakwater’s alleged role in the enterprise was
critical to the success of the enterprise, the Complaint does not
allege that Breakwater directed the enterprise’s affairs.
However, there has been much discovery in related cases and
some in this case since the Complaint was filed. And, the
Plaintiffs’ briefs tell that they have evidence showing that
Breakwater participated in directing the affairs of the
enterprise. If so, they can amend the Complaint. Therefore, COUNT
ONE of the Complaint will be dismissed without prejudice as to

Breakwater, and with leave to amend.

(C) COUNT TWO: Violation of RICO, 18 U.S.C. § 1962 (d)

Breakwater seeks dismissal of COUNT TWO, arguing that
“Plaintiffs have alleged bare legal conclusions, but no facts
specifying the formation or maintenance of any conspiratorial
agreement involving Breakwater.” Memo. in Supp. at 14 (ECF No.
544). Plaintiffs argue that they have already properly alleged

that “Matt Martorello, Justin Martorello, Rebecca Martorello,

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Eventide, the Tribe, and others committed substantive violations
of RICO” and “that Breakwater knew about and facilitated the
scheme.” Response at 15 (ECF No. 572).

Section 1962(d) provides that:

It shall be unlawful for any person to conspire to

violate any of the provisions of subsection . .. (c) of

this section.

Therefore, “to prove a RICO conspiracy, the Plaintiffs must

establish: (1) that two or more people agreed to commit a

substantive RICO offense; and (2) that the defendant knew of and

agreed to the overall objective of the RICO offense.” Blackburn v.

A.C. Israel Enterprises, No. 3:22cv146, 2023 WL 4710884, at *32

(E.D. Va. July 24, 2023) (quoting Solomon v. Am. Web Loan, No.

4:17cv145, 2019 WL 1320790, at *11 (E.D. Va. March 22, 2019))

(emphasis added); see also Mao v. Global Trust Management, LLC,

No. 4:21CV65, 2022 WL 989012, at *12 (E.D. Va. March 31, 2022)
(citation and quotation marks omitted). RICO conspiracy does not
require “some overt act or specific act” and is therefore “even
more comprehensive” than the general conspiracy statute. Salinas

v. United States, 522 U.S. 52, 63 (1997). “The partners in the

criminal plan must agree to pursue the same criminal objective,”
“even if a conspirator does not agree to commit or facilitate each

and every part of the substantive offense.” Id. at 63.

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The Court already has found on multiple occasions that
Plaintiffs have adequately alleged “that two or more people agreed
to commit a substantive RICO offense.” See ECF No. 375 (denying
Justin Martorello’s motion to dismiss); ECF No. 377 (denying
Eventide’s motion to dismiss); ECF No. 380 (denying Rebecca
Martorello’s motion to dismiss); Breakwater Personal Jurisdiction
Opinion at 30. Therefore, the first element of the § 1962(d) claim
is adequately pled.

Breakwater next asserts that Plaintiffs “have not alleged
that Breakwater agreed to anything.” Memo. in Supp. at 15 (ECF No.
544). It is true that the Complaint does not allege any formal
agreement between Breakwater and the other members of the
conspiracy. But, proof of a formal agreement is not required
because “[p]roof of such an agreement ‘may be established solely
by circumstantial evidence.’” Blackburn, 2023 WL 4710884, at *32

(quoting Solomon, 2019 WL 1320790, at *11)).

The Plaintiffs adequately allege that, from its very
inception, Breakwater was intimately entwined with the conspiracy
and its sole reason for existence was to contribute to the
conspiracy’s success. Compl. qq 17, 61. The Court already has found
that Plaintiffs adequately have alleged that Breakwater served a
key role in the conspiracy “by serving as a conduit for the

scheme’s allegedly ill-gotten funds” and as disburser of those

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funds. Breakwater Personal Jurisdiction Opinion at 30 (quotation
marks and citation omitted) (ECF No. 607). Indeed, as the Court
has also already held, Plaintiffs have amply plead that “Breakwater
shared in the conspiracy’s ‘common plan’ to collect, retain, and
redistribute the profits from the RICO enterprise.” Breakwater
Personal Jurisdiction Opinion at 30 (ECF No. 607). That is
sufficient.

For the foregoing reasons, Breakwater’s MOTION to dismiss
COUNT TWO of the Complaint is denied.

(D) COUNT FIVE: Violation of Virginia Usury Laws, Va. Code § 6.2-
303

Under Virginia law, “no contract shall be made for the payment
of interest on a loan at a rate that exceeds 12 percent per year.”
Va. Code § 6.2-303(A).1® Any contract made in violation of this
provision “is void” and “no person shall have the right to collect,
receive, or retain any principal, interest, feeds, or other charges
in connection with the contract.” Va. Code § 6.2-303(F). In the
event that interest is paid on a usurious loan, “the person paying
may bring an action. . . to recover from the person taking or

receiving such payments.” Va. Code § 6.2-305(A).1?9 Plaintiffs are

18 The statute sets forth various exceptions, none of which are
applicable here. Va. Code § 6.2-303(B).

19 “Person” is defined as “any individual, corporation,
partnership, association, cooperative, limited liability company,
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entitled to recover: (1) “The total amount of the interest paid to
such person in excess of that permitted by the applicable statute”;
(2) “Twice the total amount of interest paid to such person during
the two years immediately preceding the date of the filing of the
action”; and (3) “Court costs and reasonable attorney fees.” Va.
Code § 6.2-305(A) (1)-(3).

Plaintiffs allege that loans were made to Virginia consumers
with “annual interest rate[s] well in excess of 12%,” Compl. ]
379, and that the interest from those loans was then funneled
through Breakwater to Bluetech and then to Martorello. Compl. {
244. As a result, so they say, the Virginia Plaintiffs “are
entitled to recover all amounts received on these void loans, as
well as twice the amount of usurious interest repaid” from the
defendants, including Bluetech. Compl. § 380.

Breakwater argues that it cannot be held liable because it
never “lent money or received repayment in connection with any
loan.” Memo. in Supp. at 15-16 (ECF No. 544). Moreover, says
Breakwater, it “is not a party to any of the loan agreements.” Id.

Breakwater’s arguments fail because Plaintiffs have properly
alleged that Breakwater is an entity “receiving” usurious

payments. Va. Code § 6.2-305(A). As the Court already has found

trust, joint venture, government, political subdivision, or other
legal or commercial entity.” Va. Code Ann. § 6.2-100.
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“Breakwater received significant sums of money from [the alleged]
RICO enterprise.” Breakwater Personal Jurisdiction Opinion at 16
(ECF No. 607). Breakwater “drew a continual stream of revenue from
United States based loans,” including loans made to Virginia
consumers. Id.

Furthermore, it is immaterial that Breakwater itself did not
collect the loans as long as it eventually “received the payments,

even if not directly.” Williams v. Big Picture Loans, LLC, No.

3:17-cv-461, 2023 WL 4473335, at *3 (E.D. Va. July 11, 2023). “{AJ
Plain reading of § 6.2-305 plausibly permits recovery against
individuals who take and receive payments on usurious loans, even
if those payments pass through corporate entities.” Hengle v.

Asner, 433 F.Supp.3d 825, 896 (E.D. Va. 2020), affirmed on diff.

grounds sub nom Hengle v. Treppa, 19 F.4th 324 (4th Cir. 2021).

Because the allegedly illegally obtained revenue from the
loans ended up, by design and with knowledge of all concerned, in
Breakwater’s coffers, the Court will deny Breakwater’s MOTION to
dismiss COUNT FIVE.

(E) COUNT TWENTY-EIGHT: Unjust Enrichment

Plaintiffs allege that Breakwater has been “unjustly enriched
as a result of charging and collecting illegal, usurious interest
rates from residents of Virginia” and “it would be unjust for

[Breakwater] to retain the benefits attained by their actions.”

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Compl. 4§ 520-21.
The doctrine of unjust enrichment “arises from the simple
principle that one person may not enrich himself unjustly at the

expense of another.” James G. Davis Const. Corp. v. FTJ, Inc., 841

S.E.2d 642, 647 (Va. 2020). Virginia has

adopted a three-part test to govern unjust enrichment
claims: (1) the plaintiff conferred a benefit on the
defendant; (2) the defendant knew of the benefit and
should reasonably have expected to repay the plaintiff;
and (3) the defendant accepted or retained the benefit
without paying for its value.

Id. at 650 (emphasis added).

As its only argument for dismissal of this count, Breakwater
says that “there are no facts demonstrating that any conduct by
Breakwater is a but-for or proximate cause of Plaintiffs’ alleged
injuries.” Memo. in Supp. at 16 (ECF No. 544). However, neither
but-for nor proximate cause is one of the elements of a claim for
unjust enrichment under Virginia law. Even if it was an element or
lack thereof was a defense, the Complaint adequately alleges that
Breakwater’s actions did cause Plaintiffs’ injuries. See supra at
§ 2(B) (i).

The Court will deny Breakwater’s MOTION to dismiss COUNT
TWENTY-EIGHT.

(F) COUNT TWENTY-NINE: Civil Conspiracy
Bluetech argues that “Plaintiff [sic] cannot state a claim

for common law conspiracy for the same reasons they cannot state
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a RICO conspiracy claim.” DEFENDANT BREAKWATER HOLDINGS, LLC’S
REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS PURSUANT TO RULE
12(b) (6) (“Reply”) at 11 (ECF No. 594). Namely, Breakwater contends
that “Plaintiffs fail to allege civil conspiracy, as there are no
facts demonstrating ‘concerted action’ on the part of Breakwater
with respect to the alleged lending.” Memo. in Supp. at 16 (ECF

No. 544) (citing Kayes v. Keyser, 72 Va. Cir. 549 (2007)).

Courts have distilled the elements of a civil conspiracy claim
under Virginia law as “(i) an agreement between two or more persons

(ii) to accomplish an unlawful purpose or to accomplish a_lawful

purpose by unlawful means, which (iii) results in damage to

plaintiff.” Cox v. MAG Mutual Ins. Co., No. 3:14-cv-377, 2015 WL

1640513, at *6 (E.D. Va. April 9, 2015) (quoting Firestone v.

Wiley, 485 F.Supp.2d 694, 703 (E.D. Va. 2007)) (emphasis added) ;
see also Response at 31 (ECF No. 572) (same); Reply at 11 (same).

As explained above in § 2(C), Plaintiffs have properly plead
that there was an agreement between two or more persons for the
purpose of accomplishing an unlawful purpose (the collection of
unlawful debts). In addition, as explained above in § 2(B) (i),
Plaintiffs suffered economic damage as a result of the enterprise.
Therefore, all the requisite elements are properly plead.

For these reasons, Breakwater’s MOTION to dismiss COUNT

TWENTY-NINE of the Complaint is denied.

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(G) COUNT THIRTY: Aiding and Abetting

In their Response, Plaintiffs informed the Court that “they
no longer intend to pursue [this claim) and ask that it be
dismissed without prejudice.” Response at 31 (ECF No. 572).
Breakwater requests that this claim be dismissed with prejudice.
Reply at 3 (ECF No. 594). The Court will grant Plaintiffs’ request

and dismiss COUNT THIRTY without prejudice.

CONCLUSION
For the reasons set forth above, the MOTION TO DISMISS will
be granted in part and denied in part. The MOTION will be granted
as to COUNT ONE, without prejudice and leave to amend; denied as
to COUNTS TWO, FIVE, TWENTY-EIGHT, and TWENTY-NINE; and denied as
moot as to COUNT THIRTY.

It is SO ORDERED.

/s/ RE

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: October , 2023

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